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 1 Ellen Jean Winograd, Esq.
   Nevada State Bar No. 815
 2 Kelsey E. Gunderson, Esq.
   Nevada State Bar No. 15238
 3 WOODBURN AND WEDGE
   6100 Neil Road, Suite 500
 4 Reno, Nevada 89511

 5 Tel: 775-688-3000
   Fax: 775-688-3088
 6 ewinograd@woodburnandwedge.com
   kgunderson@woodburnandwedge.com
 7
   Attorneys for Western Range Association
 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                                FOR THE DISTRICT OF NEVADA
10
   ABEL CÁNTARO CASTILLO; ALCIDES                Case No. 3:16-cv-00237-RCJ-VPC
11 INGA   RAMOS,   and those similarly situated,

12               Plaintiff,
     vs.
13

14 WESTERN RANGE ASSOCIATION;
   MELCHOR GRAGIRENA; EL TEJON
15 SHEEP COMPANY; MOUNTAIN PLAINS
   AGRICULTURAL SERVICE; ESTILL
16 RANCHES, LLC; and JOHN ESTILL,

17                 Defendants.
18

19         STIPULATION TO EXTEND TIME TO FILE OPPOSTITION TO PLATINIFF’S
                               MOTION TO COMPEL
20                                 (First Request)
21          Defendant WESTERN RANGE ASSOCIATION (“Western Range”) AND Plaintiff Abel
22 Cántaro Castillo, by and through their respective attorneys of record, hereby stipulate to extend the

23 time for Defendants to file their Opposition to Plaintiff’s Motion to Compel from the current

24 deadline of April 1, 2020 to April 8, 2020.

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 1         This is the first request for an extension. This request is necessitated by the otherwise

 2 unanticipated work challenges in Nevada arising from the COVID-19 situation. This request is made

 3 in good faith and not for purposes of delay.

 4 Dated: April 3, 2020

 5   _/s/ Christine E Webber______________        _/s/ Ellen Jean Winograd__________________
     Christine E. Webber, Esq.                    Ellen Jean Winograd, Esq.
 6   Brian Corman, Esq.                           Nevada State Bar No. 815
     COHEN MILSTEIN SELLERS & TOLL                Kelsey E. Gunderson, Esq.
 7                                                Nevada State Bar No. 15238
     PLLC
                                                  WOODBURN AND WEDGE
 8   1100 New York Avenue NW, Suite 500           6100 Neil Road, Suite 500
     Washington, DC 20005                         Reno, Nevada 89511
 9                                                Tel: 775-688-3000
     Alexander N. Hood, Esq.                      Fax: 775-688-3088
10   TOWARDS JUSTICE                              ewinograd@woodburnandwedge.com
     1535 High Street, Suite 300                  kgunderson@woodburnandwedge.com
11                                                Attorneys for Western Range Association
     Denver, CO 80218
12
     Mark R. Thierman, Esq.
13   Joshua D. Buck, Esq.
     Leah L. Jones, Esq.
14   THIERMAN BUCK LLP
     7287 Lakeside Drive
15
     Reno, NV 89511
16   Attorneys for Plaintiff

17
           IT IS SO ORDERED.
18
           DATED this _____ day of April, 2020.
19
                                                        _____________________________________
20                                                      UNITED STATES DISTRICT JUDGE

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 1                                  CERTIFICATE OF SERVICE

 2         I hereby certify that on April 3, 2020, a true and correct copy of the foregoing was served

 3 via the United States District Court CM/ECF system on all parties or persons requiring notice.

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 5
                                                         _/s/ Haleigh Valenta __________________
 6                                                       An Employee of Woodburn and Wedge
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